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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 4:23¢v377

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) Oppo Electronics Corp. was received by me on (date) May ll,
2023, 11:22 am.

[] I personally served the summons on the individual at (place) on (date)
5 or
| I left the summons at the individual’s residence or usual place of abode with (name) 28
person of suitable age and discretion who resides there, on (date) , and mailed a copy to

the individual’s last known address; or

[xX] I served the summons on (name of individual) Fai Kongchai , who is designated by law to accept service of process
on behalf of (name of organization) Oppo Electronics Corp. on (date) Wed, May 17 2023 ; or

C4 I returned the summons unexecuted because: ; or

[ Other: ; OT

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: 05/17/23

Ale. o. Svinte

Server's signature
Gean Smith

Printed name and title

6501 Independence Pkwy # 7105, Plano, TX 75023

Server's address

Additional information regarding attempted service, etc.:

1) Successful Attempt: May 17, 2023, 11:30 am CDT at C/O OnePlus USA Corp.: 5000 Riverside Dr Bldg. 5, Irving, TX 75039
received by Fai Kongchai. Age: 50; Ethnicity: Caucasian; Gender: Female; Weight: 150 Ibs; Height: 5'5"; Hair: Black;
Relationship: Admin/Authorized to Accept:

DOCUMENTS SERVED: SUMMONS IN A CIVIL ACTION; ORIGINAL COMPLAINT FOR PATENT INFRIN GEMENT;
CIVIL COVER SHEET; EXHIBITS A-H
